                 Case 4:07-cr-00247-SWW            Document 150              Filed 10/05/10    Page 1 of 3
PROB 12B
EDIAR (8/2002)                                                                                    FILED
                                                                                                us. DISTRICT COURT
                                       United States District Court                         EASTERN DISTRiCT ARKANSAS


                                                         for the                                OCT -5 2010
                                          Eastern District of Arkansas

                        Request for Modifying the Conditions or Term of Supervision
                                       with Consent of the Offender
                                      (Probation Form 49, Waiver ofHearing is Attached)


  Name of Offender: Billy Lee Logan                                                  Case Number: 4:07CR00247-003
  Name of Sentencing Judicial Officer:         Honorable Susan Webber Wright
                                               United States District Judge
  Offense:                    Conspiracy to possess counterfeit securities
  Date of Sentence:           October 30, 2008

  Sentence:                   Bureau of Prisons (time served), 3 years supervised release, 4 months home
                              detention with electronic monitoring, cost to be paid by the United States
                              Probation Office and must be in place within 3 months from sentencing date,
                              drug testing, substance abuse treatment, mental health treatment, DNA
                              testing, maintain or actively seeking employment, financial conditions and
                              reside in Searcy or Kensett, Arkansas, area during term of supervision, unless
                              a change is authorized by the U.S. Probation Office, $35,526.72 restitution
                              and $100 special penalty assessment
  Type of Supervision:        Supervised Release            Date Supervision Commenced: October 30, 2008
                                                            Expiration Date: October 29, 2011
  Asst. U.S. Attorney: Jana Harris                          Defense Attorney: To be determined
  U.S. Probation Officer: Dwayne M. Ricks
  Phone No.: 501-604-5273

                                         PETITIONING THE COURT

To modify the conditions of supervision as follows:

             The defendant shall make monthly restitution payment in the amount of $50 per month until paid
             in full.

                                                         CAUSE

Mr. Logan was initially required by the Court to make restitution payments in the amount of ten percent
of his gross monthly income. Since being on supervised release, he has made only two payments
totaling $65. Mr. Logan was employed by Haynie Construction Company in Searcy, Arkansas, as a
laborer, but was recently terminated. Prior to being terminated, Mr. Logan indicated he was having
financial difficulties and was given a Prob 48B Monthly Cash Flow Statement to complete and return.
After reviewing this form and speaking to Mr. Logan, it was determined that he was unable to submit the
amount of restitution ordered by the Court. On August 16, 2010, Mr. Logan signed the attached Prob 49
waiving his rights to a hearing and agreeing to modify his conditions to reduce his restitution payments
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Prob 128                                           -2-                           Request for Modifying the
                                                                        Conditions or Terms of Supervision
                                                                              with Consent of the Offender

Name of Offender: Billy Lee Logan                                        Case Number: 4:07CR00247-003

to $50 per month. Assistant Federal Public Defender Lisa Peters has reviewed the modification with Mr.
Logan. Mr. Logan has also agreed to start making his monthly restitution payments as soon as he gains
employment.




 Dwayne M. Ricks                                             Jana Harris
 U.S. Probation Officer                                      Assistant U.S. Attorney

 Date:     9iL~/; D                                             Date:



This form is to be filed with Criminal Docketing as a motion.


THE COURT ORDERS:
[ ]    No Action
[ ]    The Extension of Supervision as Noted Above
[..,.­ The Modification of Conditions as Noted Above
[ ] Other

                                                            ~~  Signature of Ju idal Officer

                                                                    It) .. 0 -/d
                                                                Date

This form is to be filed with Criminal Docketing as an order and/or petition.

Approved:




DMR/kyj

c: Federal Public Offender Office, 1401 West Capitol Avenue, Suite 490, Little Rock, AR 72201
   Assistant U.S. Attorney, Jana Harris, P.O. Box 1229, Little Rock, AR 72203
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J>ROB 49
                                  Waiver ofl-Iearing to Modify Conditions
                      of Probation/Supervised Release or Extend Term of Supervision

                        UNITED STATES DISTRICT COURT
                                    for the
                        EASTERN DISTRICT O.F ARKANSAS

       1 have been advised and understand that I am entitled by law to a hearing and assistance
of counsel before any unfavorable change may be made in my Conditions of Probation and
Supervised.Release or my period of supervision being extended. By 'assistance of counsel', 1
understand that I have the right to be represented at the hearing by counsel of my own choosing if
I am able to retain counsel. I also understand that I have the right to request the Court to appoint
counsel to represent me at such a hearing at no cost to myself if I am not able to retain counsel of
my own choosing.

        I hereby voltmtarily waive my statutory right to a hearing and to assistance of counseL I
also agree to the following modification of my Conditions of Probation and Supervised Release
or to the proposed extension of my term of supervision:

The defendant shall make monthly restitution payments in the amount of $50 per month until
paid in full.




 Witness:   [)jA A.i~Q ilck
                B.S. Prbation Officer
                                                     Signed:   ~
                                                            Probationer or Supervised Releasee
                                  tJf//tI/IO
                                                 DATE




                                                     ~)£)-
                                                        Lis G. Peters
                                                        Assistant Federal Defender
